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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                ORANGEBURG DIVISION

CALEB ALLEN,                                 ) Civil Action Number: 5:20-cv-00943-KDW
                                             )
                              Plaintiff,     )
                                             )      ORDER GRANTING MOTION
             v.                              )             FOR REMAND
                                             )
ANDREW M. SAUL,                              )
Commissioner of the Social Security          )
Administration,                              )
                                             )
                              Defendant.     )


                                            ORDER

       AND NOW, this 6th day of November, 2020, upon consideration of the Defendant's

Motion to Remand, ECF No. 17, and any response thereto, it is hereby ORDERED that the

Defendant’s motion is granted and this action is remanded to the Commissioner for further

evaluation under the fourth sentence of 42 U.S.C. § 405(g), including an opportunity for a hearing

and a new decision.


       IT IS SO ORDERED.




November 6, 2020                                            Kaymani D. West
Florence, South Carolina                                    United States Magistrate Judge
